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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Claire C. Cecchi, U.S.D.J.
v. : Crim. No. 19-877
MATTHEW BRENT GOETTSCHE, : STIPULATION AND ORDER OF
INTERLOCUTORY SALE AND
Defendant. : MODIFICATION OF POST

INDICTMENT RESTRAINING ORDER
(Bitwealth Oil & Gas LLC’s interest in
Seeker Resources LLC)

WHEREAS, on December 5, 2019, a federal grand jury in the District of
New Jersey returned an Indictment (“Indictment”) charging Matthew Brent
Goettsche (“Goettsche”) and others with conspiracy to commit wire fraud,
contrary to 18 U.S.C. § 1343, in violation of 18 U.S.C. § 1349 (Count One); and
conspiracy to offer and sell unregistered securities, contrary to 15 U.S.C. §§
77e and 77x, in violation of 18 U.S.C. § 371 (Count Two);

WHEREAS, the Indictment contained a forfeiture allegation as to Count
One that gave notice of the United States’ intent to forfeit, upon conviction, all
right, title, and interest of Goettsche in all property, real and personal, that
constitutes or is derived from proceeds traceable to the commission of the wire
fraud conspiracy offense, and all property traceable thereto, pursuant to 18
U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461(c);

WHEREAS, on or about July 20, 2021, the Court entered a Post-

Indictment Restraining Order (“Restraining Order”) restraining Goettsche and
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others from transferring or encumbering certain assets, as well as from taking
any action that would diminish the value of the asset, including the following:

Any and all ownership interest held in the name, on behalf or for

the benefit of Matthew Brent Goettsche ... [and] Bitwealth Oil &

Gas LLC ... in the assets of ... Seeker Resources LLC (“Subject

Asset”);

WHEREAS, on or about July 22, 2021, the United States filed a Third
Forfeiture Bill of Particulars alleging that the assets set forth in the Restraining
Order, including the Subject Asset, are subject to forfeiture in this action
pursuant to Federal Rule of Criminal Procedure 32.2(a), 18 U.S.C. §

98 1(a)(1)(C), and 28 U.S.C. § 2461 (c);

WHEREAS, on or about July 22, 2021, the United States served notice
upon all person and entities believed to have an interest in the Subject Asset;

WHEREAS, the value of the Subject Asset is subject to dissipation;

WHEREAS, the United States, Goettsche, Bitwealth Oil & Gas LLC
(“Bitwealth”), Seeker Resources LLC (“Seeker”), and DNO, LLC (*DNO”) agree
that the Subject Asset should be sold to preserve its value pending a final
adjudication on the merits; and

WHEREAS, the United States, Goettsche, Bitwealth, Seeker, and DNO,
have agreed that the Subject Asset is to be sold by Bitwealth to DNO before the
conclusion of the forfeiture proceedings, with the net proceeds of the sale to be
held as substitute res pending further order of this Court;

WHEREAS, the interlocutory sale of a depreciable forfeitable asset on

consent, and with the Court’s authorization, is authorized by 21 U.S.C. §

853(e)(1) and Fed. R. Crim. P. 32.2(b)(7) (incorporating the provisions of Rule
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G(7)(b)(i)-(iv) of the Supplemental Rules for Admiralty or Maritime Claims and
Asset Forfeiture Actions (‘Supplemental Rules”));

WHEREAS, 21 U.S.C. § 853(g) confers broad power upon the Court to
take any action necessary to protect the interest of the United States in an
asset named in an order of forfeiture; and

NOW, THEREFORE, it is hereby STIPULATED, ORDERED AND AGREED
by and between the United States, by and through its counsel, Philip R.
Sellinger, United States Attorney for the District of New Jersey, Joseph N.
Minish, appearing; Matthew Brent Goettsche individually; Gavin Dickson
individually on behalf of Bitwealth; Matthew Brent Goettsche on behalf of
Bitwealth through GoBit, LLC; Robb Miller on behalf of Seeker; and Ryan
Bybee on behalf of DNO (collectively, “Parties”):

1. Bitwealth and Seeker represent that the LLC Unit Investment
Agreement made as of March 14, 2018 between Bitwealth and Seeker sets forth
Bitwealth’s interest in Seeker.

2. Bitwealth and Seeker represent that the extent of Bitwealth’s
interest in Seeker is 18.9873 membership units of Seeker which results in
Bitwealth having a 27.5229% membership interest in Seeker.

3. Goettsche and Bitwealth agree that the 18.9873 membership units
of Seeker owned by Bitwealth is the Subject Asset, as defined above, and
therefore subject to the Restraining Order.

4. DNO represents it wishes to purchase all of Bitwealth’s right, title,

and interest in the Subject Asset.
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5. Bitwealth represents that it has entered into an agreement with
DNO who has offered to purchase the Subject Asset for (a) $600,000 and (b)
50% of the distributions made by Seeker to DNO with respect to the Subject
Asset that represent net profits from the operations of Seeker up to a maximum
of $5,400,000 for the total maximum purchase price of $6,000,000.

6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal
Procedure and 21 U.S.C. § 853(g), each of the Parties agree to the interlocutory
sale of the Subject Asset.

7. In furtherance of the interlocutory sale, the Parties agree to
execute promptly any documents which may be required to complete the
interlocutory sale of the Subject Asset.

8. The net proceeds from the sale of the Subject Asset will include all
monies realized from the sale of the Subject Asset.

9. The net proceeds realized from the sale of the Subject Asset, and
any and all income or interest accrued thereon, shall be the substitute res for
the Subject Asset. The net proceeds shall be transferred to the United States at
the closing in accordance with directions to be provided by the United States
Attorney’s Office, Federal Bureau of Investigation, or United States Marshals
Service. The net proceeds shall be deposited and held by the United States
Marshals Service (or its designee) in the asset forfeiture fund pending further
order of the Court. The Restraining Order is hereby deemed amended

accordingly.
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10. The substitute res shall be treated as the equivalent of the
Subject Asset and all claims and defenses applicable to the Subject Asset
shall apply to the substitute res. Nothing in this Stipulation shall be
construed to be a waiver of any rights, claims, or interests held by
Goettsche or Bitwealth in connection with the Subject Asset.

11. Should Goettsche be convicted of the charges in the Indictment,
upon the disposition of any petitions filed pursuant to 21 U.S.C. § 853, the
Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)
and 18 U.S.C. § 982(b)(1), in which all interests in the substitute res will be
addressed.

12. Seeker understands and agrees that it waives any rights to
litigate further its interest in the Subject Asset and further pursue
remission or mitigation of the forfeiture of the Subject Asset.

13. Each of the Parties agrees to bear its costs and attorneys’ fees.

14. Goettsche and Bitwealth are each hereby barred from asserting
any claim against the United States, its departments and agencies, officers,
employees, and agents, in their individual and official capacities, in connection
with or arising out of, the United States’ actions against and relating to the
Subject Asset.

15. The undersigned individuals signing this Stipulation and Order on
behalf of Goettsche, Bitwealth, Seeker, and DNO each represent and warrant
that they have full authority to execute this Stipulation and Order. The United

States signatory represents that the undersigned is signing this Stipulation

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and Order in his/her official capacity and that the undersigned is authorized to
execute this Stipulation and Order. The undersigned individuals further
represent that each of them has obtained all consents, approvals or other acts
of any kind required to be obtained or done to enable it lawfully to enter into
this Stipulation.

16. The United States reserves the right, in its discretion, to terminate
the forfeiture at any time and release the Subject Asset. In either event, the
United States shall promptly notify the other Parties of such action. A
discretionary termination of forfeiture shall not be a basis for any award of
attorneys’ fees or costs.

17. The signature pages of this Stipulation and Order may be executed
in one or more counterparts and transmitted by facsimile or electronic means.
Counterparts will be deemed an original, and all of them together will
constitute the same instrument.

18. This Stipulation and Order constitutes the complete agreement
between the signatories hereto and may not be amended except by written
consent thereof.

19. This Court shall retain jurisdiction in this matter to take additional
action and enter further orders as necessary to implement and enforce this

Stipulation and Order authorizing the sale of the Subject Asset.
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AGREED AND CONSENTED TO BY:

United States of America:

Philip R. Sellinger
United States Attorney

hc
By: a N. Minish
ah Devlin

Assistant United States Attorneys

 

Matthew Brent Goettsche
Defendant

 

 

Rodney Villazor
Counsel for defendant
Matthew Brent Goettsche

Bitwealth Holdings Oil & Gas LLC:

 

Gavin Dickson

Bitwealth Holdings Oil & Gas LLC:

By: Matthew Brent Goettsche
Managing Member of GoBit, LLC

 

 

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Dated: 4/ac[ez
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AGREED AND CONSENTED TO BY:

United States of America:

Philip R. Sellinger
United States Attorney

 

By:

Joseph N. Minish
Sarah Devlin
Assistant United States Attorneys

 

Matthew Brent Goettsche
Defendant

Counsel fo ndant

Matthew Brent Goettsche

Bitwealth Holdings Oil & Gas LLC:

 

 

Gavin Dickson

Bitwealth Holdings Oil & Gas LLC:

 

By:

Matthew Brent Goettsche
Managing Member of GoBit, LLC

Dated:

Dated:

 

 

 

 

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Dated: 04/22/2022

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AGREED AND CONSENTED TO BY:

United States of America:

|
Philip R. Sellinger |
United States Attorney |

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Dated:
By: Joseph N. Minish
Sarah Devlin
Assistant United States Attorneys
Dated: |
Matthew Brent Goettsche
Defendant
Dated:
Rodney Villazor

Counsel for defendant
Matthew Brent Goettsche

Bitwealth Holdings Oil & Gas LLC:

OocuSigned by:
| Gori. Dickson Dated: 5/2/2022
Gavin Dickson

Bitwealth Holdings Oil & Gas LLC:

 

Dated:

 

By: Matthew Brent Goettsche
Managing Member of GoBit, LLC

 
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Seeker Resources LLC:

OocuSigned by:
[ mu Muller
69E32684A002BD... Dated: 5/5/2022

By: Robb Miller
CEO, Seeker Resources LLC

 

OccuSigned by:

o-* 5/5/2022
E106486C06034B2.. Dated:
Brandon Johnson, Esq.

Counsel for Seeker Resources LLC

DNO, LLC:

 

 

 

Dated:
By: Ryan Bybee
Manager, DNO, LLC
Dated:
By: Andrew Bybee
Manager, DNO, LLC
DocuSigned by:
Borvy Mluasow
a ee Dated: 5/5/2022

 

Barry Johnson, Esq.
Counsel for DNO, LLC
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Seeker Resources LLC:

Dated:

 

By: Robb Miller
CEO, Seeker Resources LLC

Dated:

 

Robert Clark, Esq.
Counsel for Seeker Resources LLC

DNO, LLC:

DocuSigned by:
| has Dube Dated: 4/25/2022

By: Ryan Bybee
Manager, DNO, LLC

 

 

DocuSigned by:

Audrww Bybee Dated: 4/25/2022
By“ Atidrew Bybee
Manager, DNO, LLC

Dated:

 

Barry Johnson, Esq.
Counsel for DNO, LLC
